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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

JENNIE NELSON and SARAH KEAN,

               Plaintiffs,

v.                                                      Case No.: 2:19-cv-272-FtM-38MRM

PETRO GATE, INC. and BEHNAM
BAGHERI,

               Defendants.
                                              /

                                    OPINION AND ORDER1

       This matter comes before the Court on United States Magistrate Judge Mac R.

McCoy’s Report and Recommendation (Doc. 26) filed on September 6, 2019. Judge

McCoy recommends granting the parties’ Amended Joint Motion for Approval of

Settlement Agreement (Doc. 24) as a “fair and reasonable solution of a bona fide dispute”

of the FLSA issues and denying the parties’ request to reserve jurisdiction to enforce the

settlement agreement. No objections have been filed and the time to do so has expired.

Thus, the Report and Recommendation is ripe for review.

       A district judge “may accept, reject, or modify in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1). The district

judge “shall make a de novo determination of those portions of the report or specified



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proposed findings or recommendations to which objection is made.” Id. And “[t]he judge

may also receive further evidence or recommit the matter to the magistrate judge with

instructions.” Id.

       After examining the file independently, and upon considering Judge McCoy’s

findings and recommendations, the Court accepts and adopts the Report and

Recommendation.

       Accordingly, it is now

       ORDERED:

       (1)    The Report and Recommendation (Doc. 26) is ACCEPTED and ADOPTED

and the findings incorporated herein.

       (2)    The Amended Joint Motion for Approval of Settlement Agreement (Doc. 24)

is GRANTED. The Joint Motion is granted to the extent that the Settlement Agreement

(Doc. 24-1) is APPROVED as a “fair and reasonable resolution of a bona fide dispute” of

the parties’ FLSA issues.

       (3)     The above-captioned case is DISMISSED with prejudice.

       (4)    The Clerk is DIRECTED to enter judgment, terminate any pending motions

and deadlines, and close the file.

       DONE and ORDERED in Fort Myers, Florida this 23rd day of September, 2019.




Copies: All Parties of Record




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